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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )          2:12cr48-3-MHT
                                   )               (WO)
JOSEPH SANDERS                     )

                                ORDER

    Counsel for defendant Joseph Sanders having orally

informed the court that he does not object, it is ORDERED

that the government’s motion to dismiss Count 17 of the

indictment (doc. no. 424) is granted and that Count 17 of

the indictment is dismissed.

    DONE, this the 2nd day of July, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
